        Case 1:19-cv-00883-SDG Document 82 Filed 02/12/20 Page 1 of 3




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BENNETT COLLEGE,                             )
                                             )
                         Plaintiff,          )   Civil Action No. 1:19-cv-00883-
                                             )   SDG
                   v.                        )
                                             )
THE SOUTHERN ASSOCIATION OF                  )
COLLEGES AND SCHOOLS                         )
COMMISSION ON COLLEGES, INC.,                )
                                             )
                         Defendant.          )

               MOTION FOR LEAVE TO FILE UNDER SEAL

      Defendant The Southern Association of Colleges and Schools Commission on

Colleges, Inc. (“SACSCOC”) respectfully requests leave of Court to file under seal

the depositions transcripts of Latonya Flamer and Kimberly Ripberger, which are

referenced in SACSCOC’s Motion for Summary Judgment filed on February 7, 2020

[Dkt. 78], for the reasons set forth in the Memorandum in Support of the Parties’

Joint Motion for Leave to File under Seal filed on February 7, 2020 [Dkt. 76-1].

                    [SIGNATURE ON FOLLOWING PAGE]




                                         1
 Case 1:19-cv-00883-SDG Document 82 Filed 02/12/20 Page 2 of 3




Respectfully submitted this 12th day of February, 2020.


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                                  2
        Case 1:19-cv-00883-SDG Document 82 Filed 02/12/20 Page 3 of 3




                         CERTIFICATE OF SERVICE

      This is to certify that I have this day electronically filed the foregoing

MOTION FOR LEAVE TO FILE UNDER SEAL with the Clerk of Court using

the CM/ECF system which will automatically send e-mail notification of such filing

to the following attorneys of record:

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      This 12th day of February, 2020.
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